

Matter of Vaillancourt (2022 NY Slip Op 02051)





Matter of Vaillancourt


2022 NY Slip Op 02051


Decided on March 24, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 24, 2022

PM-63-22
[*1]In the Matter of Hillary Diane Vaillancourt, an Attorney. (Attorney Registration No. 5742168.)

Calendar Date:March 21, 2022

Before:Garry, P.J., Clark, Aarons, Reynolds Fitzgerald and Fisher, JJ.

Hillary Diane Vaillancourt, Waxhaw, North Carolina, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Hillary Diane Vaillancourt was admitted to practice by this Court in 2020. Vaillancourt now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Vaillancourt's application.
Upon reading Vaillancourt's affidavit sworn to February 7, 2022 and filed February 18, 2022, and upon reading the March 18, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Vaillancourt is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Aarons, Reynolds Fitzgerald and Fisher, JJ., concur.
ORDERED that Hillary Diane Vaillancourt's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Hillary Diane Vaillancourt's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Hillary Diane Vaillancourt is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Vaillancourt is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Hillary Diane Vaillancourt shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








